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          EXHIBIT 19
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   Exhibit No.        Author                        Relationship
   19-1        Joseph T. Edmiston      Executive Director of the Santa Monica
                                       Mountains Conservancy
   19-2          Edward R. Santillan   Emeritus Honorary Mayor of El Sereno
   19-3          Charles and Tina      CD 14 residents for 22 years
                 Miller
   19-4          Leonardo Lopez        President of the Comité De La Esperanza
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  Edward R. Santillan


  December 29, 2023


  Hon. John F. Walter


  Dear Hon. John F. Walter:

  I first met Jose during one of his campaign fundraisers in El Sereno. My father Lou Santillan had
  invited me, in which he stated “hey Ed, I want you to meet this kid from Zacatecas. He wants to
  be your next Councilman. From that point on, I supported his candidacy for CD14. We worked
  hard on his campaign to get him elected. Ever since, we developed a strong friendship. My
  father’s theory had always been to work alongside the Councilman, in betterment of the
  Community as whole.

  I ran for Honorary Mayor of El Sereno in 2009, with his support, we were able to be more
  Champions for the Community of El Sereno. At the time Jose lived in El Sereno and his
  commitment to the Community was evident everywhere you looked. Jose loves Rock and Roll;
  we have gone to several concerts together. We always enjoyed each other’s taste for heavy metal
  music, and have shared a beer or two. His love for his hometown of Zacatecas is always a topic,
  his deep roots makes him a proud Mexicano in the City of Angels.

  I can drive around Council District 14 and see all the various projects that have been attributed to
  his love and commitment to making this District a gem to shine for future generations to come.
  During his tenure, he even dedicated an art piece to my Dad on the overpass of the
  Valley/Marianna easement, as well as a Utility Box with the images of him & myself on
  Huntington/Rosemead Ave.

  I am hoping that you would consider his life story as a young immigrant coming to this Country
  and making a real impact on people’s lives ever since being on the LAUSD Board & 12 plus
  years on the LA City Council. In Closing, I ask that your sentencing is compassionate to a great
  man that I will always call mi amigo, the Honorary Jose Huizar. (Y Que viva Zacatecas!) Un
  fuerte abrazo!

  Sincerely,




  Edward R. Santillan
  Emeritus Honorary Mayor of El Sereno
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                            EXHIBIT 19-3
    Case 2:20-cr-00326-JFW Document 1244-1 Filed 01/12/24 Page 8 of 25 Page ID #:29018

Natalie Degrati

From:                Tina Gulotta-Miller <                       >
Sent:                Thursday, December 28, 2023 12:52 PM
To:                  Charles Snyder
Subject:             Jose Huizar CR20-326(A)-JFW



EXTERNAL SENDER
To Hon. John F. Walter,

We have known Jose Huizar for many years while being residents of Garvanza, a small enclave in the district he served as
City Councilman. Upon first meeting him we were taken by his professionalism and his ability to listen to concerns.

As time went on under his leadership, we got to know Jose as a strong and reliable leader. He was someone our
communities could count on to respond to pressing issues and visionary ideas. He was instrumental in one of those ideas
in the support he executed on behalf of Garvanza to become a recorded historic district with the city of Los Angeles.
Jose had an understanding and admiration of the grassroots work that the Garvanza Improvement Association
accomplished in our neighborhood. So much so that he allocated funding toward the process of qualifying our
township for historic designation review. He enabled our township to be recorded as part of the Highland Park ‐
Garvanza Historic Preservation Overlay Zone as part of the Los Angeles city recorded districts.

Jose was not only interested but proactive on behalf of his constituents in many other matters. Like sustainability
toward future environmental infrastructures. One being the implementation of the Garvanza Park Rainwater Capture
project. This project was forward thinking and for not only his constituents but for the natural environments that are
adjacent to the drainage along the route all to the ocean. Which could have had an impact on other communities and
council districts.

During holiday season the Councilman helped support a community toy and Christmas tree giveaway.
Disadvantaged families were grateful and appreciative of the generosity of the Councilman. A safe place for community
to gather and children to receive presents from Santa. It brought all of the community together both attending and
those volunteering behind the scenes.

Also, the Councilman was supportive and proactive regarding the proposed SR‐710 freeway extension. This project was a
proposed superfund project and Jose stepped in when we asked for support and he wrote letters of support on behalf of
Highland Park, Garvanza, Hermon and El Sereno. His support backing came at a critical time for Northeast Los Angeles
and brought success to us and the communities of Pasadena and South Pasadena that were opposing the freeway
extension. We could not have done this without his help.

We believe Jose Huizar’s actions were out of character from what we know of him. He always presented himself with
integrity and good faith. He demonstrated many times his admiration for his constituents and honored them with
recognitions and administrative support toward their needs. We knew his wife and family and witnessed his love and
hard work on their behalf. Especially his young daughter who was diagnosed with cancer and underwent extensive
treatment at the Children’s Hospital in Los Angeles.

We look forward to his future contributions to the outlying communities and society at large in the future.

Sincerely,

Charles and Tina Miller
Residents of Council District 14 for 22 years


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